o ` Case 5:99-cv-00850-S|\/|H-I\/|LH Document 168 Filed 04/11/03 Page 1 of 1 Page|D #: 979

 

 

 

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“°“§“§`“‘3‘°0 )
ICEE DISTRIBUTORS, INC., )
)
Plaintiff, )
)
v. ) Civil Action No. CV 99-0850 S
)
J & J SNACK FOODS CORP., )
WAL-MART STORES, INC., and ) JUDGE DONALD E. WALTER
ICEE OF AMERICA, INC. )
) MAGISTRATE JUDGE PAYNE
)
Defendants. )
)
_Q;R_QB

IT IS ORDERED that Lisa S. Gallerano be and is hereby admitted to the bar of this Court
pro hac vice on behalf of Defendants .T & J Snack Foods Corp., Wal-Mart Stores, Inc., and ICEE

of America, Inc. in the above described action.

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THUS DONE AND SIGNED at Shreveport, Louisiana, on this the Zi_ day of é:i/\..,¢Q}

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